Case 1:15-cr-20299-MGC Document 3 Entered on FLSD Docket 04/27/2015 Page 1 of 5




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                                             S.C.j963
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                                         21U.S.C.j853
  UNITED STATES OF AM ERICA                                                FILED y            .C.

  V S.                                                                         AFF 2j 2015
  PED RO L UIS M A RTIN O LIVA R ES.                                        ST
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                                                                             s.D offtk.-MI XM!
                                Defendants.
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                                          IND IC TM EN T

         The Grand Jury chargesthat:

         From at least as early as in and around 2000,and continuing through in and around

  Septem ber2010,the exactdatesbeing unknown to the Grand Jury,in the countries ofColom bia,

  Venezuela,M exico,and elsewhere,thedefendant,

                              PEDR O LUIS M A RTIN O LIV A R ES,

  did knowingly and willfully com bine,conspire,confederate, and agree with personsknown and

  unknow n to the G rand Jury,to:

                distribute a eontrolled substance in Schedule I1,knowing that such controlled

  substance would be unlawfully imported into the United States,in violation ofTitle 21, U nited

  StatesCode,Section959(a)(2)and
         2)     possesswith intenttodistributeacontrolled substanceinSchedule11on board an
  aircraft registered in the U nited States, in violation of Title 21, U nited States C ode, Section

  959(b)(2).
                                                  l
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         Allin violation ofTitle21,United StatesCode,Sedion 963.

         PursuanttoTitle21,UnitedStatesCode,Sedion960(b)(1)(B),itisfurtherallegedthatthis
  violationinvolvedfive(5)kilogramsormoreofamixtureand substancecontainingadetectable
  amountofcocaine.

                                 FORFEITURE ALLEGATIONS

         The allegationscontained above are re-alleged and incorporated by reference asthough

  fully setforth herein for the purpose ofalleging forfeiture to the United States ofAmerica of

  certainproperty in which thedefendant,PEDRO LUIS M ARTIN O LIVARES, has an interest.

         U pon conviction ofa violation ofTitle 21,U nited States Code, Section 963,asalleged in

  this lndictment,the defendantshallforfeitallof his respective rights, title and interestto the

  United States in any property constituting,or derived from , any proceeds obtained,directly or

  indiredly,astheresultofsuch violation and in any property used, orintended to beused,in any

  m annerorpart,to com m it,orto facilitate the com m ission of,such violation, pursuantto Title 2 1,

  UnitedStatesCode,Section 853(a)(1)-(2).
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                 A llpursuantto Title 21,U nited States Code,Sed ion 853.

                                                           A TRU E BILL
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      f'   r.'               ,


   R l A RD D . R G ORI      '
   ASSISTANT UN ITED STATES ATTORNEY


   AD AM FELS
   ASSISTANT UN ITED STATES ATTORNEY
                           UNITED STATES
  Case 1:15-cr-20299-MGC Document  3 DI  DISTRI
                                     Entered onCT COURT
                                                FLSD  Docket 04/27/2015 Page 4 of 5
                          SOUTHERN    STRICT OF FLORIDA

UNITED STATES OF AMERICA                       CASE NO.
VS.
                                               CERTIFICATE O F TRIA L ATTO RN EY.
 PEDRO LUIS MA RTIN OLIVARES,

                                               Superseding Case Inform ation:
                        Defendant.
CourtDivision:(sel
                 ectone)                       New Defendantts)                   Yes - -         No -
                                               Num berofNew Defendants
 J F
   Mi
    Taumi                 v
                          Kv
                           e)BWest     FTp     Totalnumberofcounts

       1do hereby cedifythat:
                Ihave carefullyconsidered the allegationsqfthe indictm:ntythe num bergfdefendants,the numberof
                probable wi
                          tnesses and the Iegalcomplexitlesofthe Indlctment/lnformatlon attached hereto.
       2.       Iam qware thatthe information supplied ?n thij jtatementwillbe relied upon by the Judges ofthis
                Coud Insettingtheirçalendarsand schedullngcrlm lnaltrlalsunderthe mandateofthe SpeedyTrialAct,
                Ti
                 tle 28 U.S.C.Sectlon 3161.
                Iqterpreter:     (YesMrNol      Yes
                LIstlanguage and/ordlal
                                      ect              Soanish
                This case willtake      10     days forthe parti
                                                               es to try.
       5.       Pl
                 ease checkappropriatecategoryandNpeofoffense Ii
                                                               stedbel
                                                                     ow:
                (Checkonlyone)                                 (Checkonlyone)
       I        0 to 5 days                                              P?tty
       11       6 to 10 days                      V                      M lnor
       III      11 to 20 days                                            M lsdem .
       IV       21to 60 days                                             Felony             V
       V        61days and over
       6.       HasthiscasebeenpreviouslyfiledinthisDi
                                                     strictCourt? (YesorNo)                 Yes
       Ifyes:
       Judge:                                          Case No.
       (Attachcopygfdispositi
                            ve ?rdeq)
       Hasa complalntbeenfiled Inthlsmatter?           (YesorNo)
       Ifyej:
       Maglstrate Case No.
       Related Misc:llaneous numbers:
       Defendantts)lnfederalcustodyasof
       Defendantts)Instatecustodyasof
       Rule 20 from the                                Districtof
       Isthisapotentialdeathpenal
                                tycase? (YesorNo)                NO

                Doesthiscaseori
                              ginatefrom amatterpending inthe Nodhern RegionoftheU.S.Attorney'sOffice pri
                                                                                                        or
                to October14,2023?         Yes       <     No

                Does thiscase originate from a matterpendinm in the CentralRegion ofthe U.S.Attorney'sOffi
                                                                                                         ce prior
                to Septem ber1,2D07?            Yes       G      No




                                                       R CHARD D.G R GORIE
                                                       ASSISTANT UNITED ST      S ATTORNEY
                                                       Flori
                                                           da BarNo./coud No.549495

*penaltySheetls)attached                                                                                 REV 10/2013
Case 1:15-cr-20299-MGC Document 3 Entered on FLSD Docket 04/27/2015 Page 5 of 5



                             U NITED STATE S D ISTR ICT C O UR T
                             SO UTH ERN D ISTR ICT O F FLO RID A

                                        PENA LTY SH EET

  Defendant'sNam e: PEDRO LUIS M ARTIN OLIVARES

  C ase N o:

  Count#:1

  Conspiracyto Distribute Cocainewith KnowledgeThatItW illBe Unlawfully lmported lnto the

  United States and to D istribute Cocaine on Board an A ircraftRegistered in the U nited States

  Titlr 21?United StatesCode,Section 963

  *M ax.Penalty:Life lm prisonm ent




  Wltefers only to possible term ofincarceration,does notinclude possible fines,restitution,
  specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
